     Case: 1:19-cv-02219 Document #: 69 Filed: 08/20/19 Page 1 of 2 PageID #:583




                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

METALLICA, a California general partnership,

       Plaintiff,                                           Case No.: 1:19-cv-02219

v.                                                          Judge John Z. Lee

THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
               438                               Col World Poster Store


DATED: August 20, 2019                              Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF




                               CERTIFICATE OF SERVICE
    Case: 1:19-cv-02219 Document #: 69 Filed: 08/20/19 Page 2 of 2 PageID #:583




       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 20, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
